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United States District Cour:
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UNITED STATES DISTRICT COURT §._ ED
SOUTHERN DISTRICT OF TEXAS — JUL 27 2021
McALLEN DIVISION Ee
Nathan Ochsner, Clerk

 
    
   

 

 

 

 

 

UNITED STATES OF AMERICA § —
§
Vv. § Criminal No. M-20-0240-S3
§
DANIEL SEPULVEDA §
EVARISTO SEPULVEDA, JI §
JUAN INDALECIO GARCIA §
JOSE LUIS GARCIA §
RENE SEPULVEDA §
§
EDGAR YVAN MORENO BARRAGAN- §
ee oo eS §
§
JULISA PENA §
THIRD SEALED SUPERSEDING INDICTMENT
THE GRAND JURY CHARGES:

Count One
Beginning on or about February of 2007 and continuing until on or about the date of this
Indictment, in the Southern District of Texas and within the jurisdiction of the Court, defendants,

DANIEL SEPULVEDA
EVARISTO SEPULVEDA, III
JUAN INDALECIO GARCIA

JOSE LUIS GARCIA
__RENESEPULVEDA

 

 

EDGAR YVAN MORENO BARRAGAN

_ . ‘and ee

did knowingly and intentionally conspire and agree together and with other persons known
and unknown to the Grand Jurors, to possess with intent to distribute a controlled substance. The
controlled substance involved was 5 kilograms or more of a mixture or substance containing a

detectable amount of cocaine, a Schedule II controlled substance, and 1,000 kilograms or more of »

 
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a mixture or substance containing a detectable amount of marijuana, a Schedule | controlled
substance.
In violation of Title 21, United States Code, Sections 846, 841(a)(1), and 841(b)(1)(A).
Count Two
On or about January 22, 2018 in the Southern District of Texas and within the jurisdiction
of the Court, defendants,

DANIEL SEPULVEDA
JOSE LUIS GARCIA — |

 

 

 

EDGAR YVAN MORENO BARRAGAN

and

did knowingly and intentionally possess with intent to distribute a controlled substance. The
controlled substance involved was 5 kilograms or more, that is, approximately 123 kilograms of a
mixture or substance containing a detectable amount of cocaine, a Schedule II controlled
substance.
In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(A) and Title
18, United States Code, Section 2.
Count Three
On or about January 17, 2019, in the Southern District of Texas and within the jurisdiction
of the Court, defendants,
EVARISTO SEPULVEDA, III
JUAN INDALECIO GARCIA
JOSE LUIS GARCIA
and
RENE SEPULVEDA

did knowingly and intentionally possess with intent to distribute a controlled substance. The

controlled substance involved was 5 kilograms or more, that is, approximately 320 kilograms of a

 
 

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mixture or substance containing a detectable amount of cocaine, a Schedule II controlled
substance.
In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(A) and Title
18, United States Code, Section 2.
Count Four

On or about August 30, 2019, in the Southern District of Texas, and within the jurisdiction

of the Court, defendant,
JOSE LUIS GARCIA
did knowingly conduct and attempt to conduct a financial transaction affecting interstate and
foreign commerce, to wit, the receipt of $275, 205.00 in United States currency which involved
the proceeds of a specified unlawful activity, that is, the distribution of a controlled substance, an
offense punishable under Title 21 of the laws of the United States, knowing that the transaction
was designed in whole and in part to conceal and disguise, the nature, source, ownership, and
control of the proceeds of said specified unlawful activity and that while conducting and
attempting to conduct such financial transaction knew that the property involved in the financial
transaction, that is, funds represented the proceeds of some form of unlawful activity.
In violation of Title 18 United States Code Sections 1956(a)(1)(B)@) and 2.
Count Five

On or about August 30, 2019, in the Southern District of Texas, and within the jurisdiction

of the Court, defendant,
DANIEL SEPULVEDA

did knowingly conduct and attempt to conduct a financial transaction affecting interstate and
foreign commerce, to wit, the receipt of $83,920.00 in United States currency which involved the

proceeds of a specified unlawful activity, that is, the distribution of a controlled substance, an
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offense punishable under Title 21 of the laws of the United States, knowing that the transaction
was designed in whole and in part to conceal and disguise, the nature, source, ownership, and
control of the proceeds of said specified unlawful activity and that while conducting and
attempting to conduct such financial transaction knew that the property involved in the financial
transaction, that is, funds represented the proceeds of some form of unlawful activity.

In violation of Title 18 United States Code Sections 1956(a)(1)(B)() and 2.

Count Six

On or about August 30, 2019, in the Southern District of Texas and within the jurisdiction

of the Court, defendant,
JOSE LUIS GARCIA

did corruptly attempt to, alter destroy, mutilate, and conceal a record, document, or other object or
attempt to do so, with intent to impair its integrity and availability for use in an official proceeding.

In violation of Title 18, United States Code, Section 1512(c) (1), and Title 18, United States
Code, Section 2.

Count Seven
On or about February 5, 2020, in the Southern District of Texas and within the jurisdiction
of the Court, defendant,
JOSE LUIS GARCIA

did knowingly conduct and attempt to conduct a financial transaction affecting interstate and
foreign commerce, to wit, the receipt of $18,620.00 in United States currency which involved the
proceeds of a specified unlawful activity, that is, the distribution of a controlled substance, an
offense punishable under Title 21 of the laws of the United States, knowing that the transaction
was designed in whole and in part to conceal and disguise, the nature, source, ownership, and

control of the proceeds of said specified unlawful activity and that while conducting and

 
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attempting to conduct such financial transaction knew that the property involved in the financial
transaction, that is, funds represented the proceeds of some form of unlawful activity.
In violation of Title 18 United States Code Sections 1956(a)(1)(B)(i) and 2.
Count Eight

On or about February 5, 2020, in the Southern District of Texas and within the jurisdiction

of the Court, defendant,
JOSE LUIS GARCIA
did knowingly conduct and attempt to conduct a financial transaction affecting interstate and
foreign commerce, to wit, the receipt of $52,442.00 in United States currency which involved the
proceeds of a specified unlawful activity, that is, the distribution of a controlled substance, an
offense punishable under Title 21 of the laws of the United States, knowing that the transaction
was designed in whole and in part to conceal and disguise, the nature, source, ownership, and
control of the proceeds of said specified unlawful activity and that while conducting and
attempting to conduct such financial transaction knew that the property involved in the financial
transaction, that is, funds represented the proceeds of some form of unlawful activity.
In violation of Title 18 United States Code Sections 1956(a)(1)(B)(i) and 2.
Count Nine

On or about February 5, 2020, in the Southern District of Texas and within the jurisdiction

of the Court, defendant,
DANIEL SEPULVEDA

did knowingly conduct and attempt to conduct a financial transaction affecting interstate and
foreign commerce, to wit, the receipt of $4,100.00 in United States currency which involved the
proceeds of a specified unlawful activity, that is, the distribution of a controlled substance, an

offense punishable under Title 21 of the laws of the United States, knowing that the transaction

 
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was designed in whole and in part to conceal and disguise, the nature, source, ownership, and
control of the proceeds of said specified unlawful activity and that while conducting and
attempting to conduct such financial transaction knew that the property involved in the financial
transaction, that is, funds represented the proceeds of some form of unlawful activity.

In violation of Title 18 United States Code Sections 1956(a)(1)(B)(i) and 2.

Count Ten

From on or about April 2002 and continuing and up to and including February 5, 2020 in

the Southern District of Texas and elsewhere within the jurisdiction of the Court, the defendants,
DANIEL SEPULVEDA
and
JOSE LUIS GARCIA

did knowingly and intentionally conspire and agree with other persons known and unknown to the
Grand Jury, to commit offenses against the United States in violation of Title 18, United States
Code, Section 1956, to wit:

a. did knowingly conduct and attempt to conduct a financial transaction affecting
interstate and foreign commerce, to wit, the receipt of United States currency
which involved the proceeds of a specified unlawful activity, that is, the distribution
of a controlled substance, an offense punishable under Title 21 of the laws of the
United States, knowing that the transaction was designed in whole and in part to
conceal and disguise, the nature, source, ownership, and control of the proceeds of
said specified unlawful activity and that while conducting and attempting to
conduct such financial transaction knew that the property involved in the financial
transaction, that is, funds represented the proceeds of some form of unlawful
activity.

b. knowingly conduct and attempt to conduct a financial transaction affecting

 
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interstate and foreign commerce, to wit, the purchase of the properties, both real
and personal, which involved the proceeds of a specified unlawful activity, that is,
the distribution of a controlled substance, a violation of Title 21, knowing that the
transaction was designed in whole and in part to conceal and disguise, the nature,
source, ownership, and control of the proceeds of said specified unlawful activity
and that while conducting and attempting to conduct such financial transaction
knew that the property involved in the financial transaction, that is, funds
represented the proceeds of some form of unlawful activity., in violation of Title
18 United States Code Sections 1956(a)(1)(B)(i).
In violation of Title 18, United States Code, Sections 1956(a)(1)(B)(@), 1956(a)(2)(A), and
(h).
Count Eleven
On or about April 10, 2017 in the Southern District of Texas and elsewhere within the
jurisdiction of the Court, defendant,
JOSE LUIS GARCIA
did knowingly conduct and attempt to conduct a financial transaction affecting interstate and
foreign commerce, to wit, the purchase of the property located at 2512 S. C St. McAllen, Texas,
which involved the proceeds of a specified unlawful activity, that is, the distribution of a controlled
substance, an offense punishable under Title 21 of the laws of the United States, knowing that the
transaction was designed in whole and in part to conceal and disguise, the nature, source,
ownership, and control of the proceeds of said specified unlawful activity and that while
conducting and attempting to conduct such financial transaction knew that the property involved
in the financial transaction, that is, funds represented the proceeds of some form of unlawful

activity.

 
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In violation of Title 18 United States Code Sections 195 6(a)(1)(B)G) and 2.
Counts Twelve through Fifteen

On or about April 21, 2017 in the Southern District of Texas and elsewhere within the

jurisdiction of the Court, the defendant,
JULISA PENA

did knowingly engage and attempt to engage in the following monetary transactions by through
or to a financial institution, affecting interstate or foreign commerce, in criminally derived
property of a value greater than $10,000.00, that is the transfer of U.S. currency, such property

having been derived from a specified unlawful activity, that is, illegal drug trafficking.

 

 

COUNT DEFENDANT DATE MONETARY TRANSACTION
12 Julisa Pena April 21, 2017 $25,000.00 U.S Currency
13 Julisa Pena May 8, 2017 $35,000.00 U.S Currency
14 Julisa Pena May 23, 2017 $25,000.00 U.S Currency
15 Julisa Pena June 30, 2018 $25,000.00 U.S Currency

All in violation of Title 18, United States Codes, Sections 1957 and 2.

NOTICE OF CRIMINAL FORFEITURE

NOTICE OF FORFEITURE
(21 U.S.C. § 853)

Pursuant to Title 21, United States Code, Section 853, the United States gives notice to the
Defendants charged in Counts One through Five of this Indictment, that upon conviction of a
violation of Title 21, United States Code, Sections 841 and/or 846,

1. all property constituting, or derived from, any proceeds obtained, directly or indirectly,

as the result of such violation, and

2. all property used, or intended to be used, in any manner or part, to commit, or to

facilitate the commission of, such violation,

is subject to forfeiture.

 

 
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NOTICE OF FORFEITURE
(18 U.S.C. § 982(a)(1))

Pursuant to Title 18, United States Code, Section 982(a)(1), the United States gives notice
to the Defendants charged in Count Six of this Indictment that upon conviction of a violation of
Title 18, United States Code, Section 1956, including conspiracy, all property, real and personal,
involved in such violation, and all property traceable to such property, is subject to forfeiture.

MONEY JUDGMENT

Defendants are notified that upon conviction, a money judgment may be imposed equal to
the total value of the property subject to forfeiture, for which the Defendants may be jointly and
severally liable, and which is at least 10 million dollars.

PROPERTY SUBJECT TO FORFEITURE
Defendants are notified that the property subject to forfeiture includes, but is not limited

to, the following personal property:

 

 

 

 

 

 

 

 

 

 

Asset Asset Description (including VIN or account

No. number)

1 $83,920.00 in United States Seized from D.S. on or about August 30, 2019
currency

2 $275,205.00 in United States Seized from J. G.on or about August 30,2019
currency

3 $4,100.00 in United States Seized from D.S on or about February 5,2020
currency

4 $52,442.00 in United States Seized from J.G. on or about February 5, 2020
currency

5 $18, 620.00 in United States Seized from J.G. on or about February 5, 2020
currency

 

Defendants are further notified that the property subject to forfeiture includes, but is not
limited to, the following real property:
a. The real property, improvements and appurtenances located at 25 Midway, Rio Grande

City, Texas and legally described as follows:

 
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Lot Six (6) Midway Acres S/D, Property Description: Starr County Property ID: 94625,
Geographic ID: 11963-00000-00600-000000

b. The real property, improvements and appurtenances located at 27 Midway, Rio Grande
City, Texas and legally described as follows:

Lot Seven (7) Midway Acres S/D, Property Description: Starr County Property ID:
94626, Geographic ID: 11963-00000-00700-000000

c. The real property, improvements and appurtenances located at 3147 Mesquite Country
Ln., Rio Grande City, Texas and legally described as follows:

Lot Eight (8) Mesquite Country S/D, Property Description: Starr County Property ID:
82386, Geographic ID: 11918-00000-00800-000000

d. The real property, improvements and appurtenances located at 2512 S.C St., McAllen,
Texas and legally described as follows:

Lot Three A (3A) San Angel Country, Property Description: Hidalgo County Property
ID: 1013326, Geographic ID: $0270-00-000-003 A-00

e. The real property, improvements and appurtenances located at 39 Alegria, Rio Grande
City, Texas and legally described as follows:

Lot Thirty-Two (32) La Amistad S/DDEED12, Property Description: Starr County
Property ID: 72805, Geographic ID: 10495-00000-03200-000000

f. The real property, improvements and appurtenances located at 1049 Navajo, Rio
Grande City, Texas and legally described as follows:

Lot Seven and Eight (7 AND 8) North Gate S/D Phase 1, Property Description: Starr
County Property ID: 96747, Geographic ID: 12970-00000-00700-000000

g. The real property, improvements and appurtenances located at 3396 W. US Hwy 83,
Rio Grande City, Texas and legally described as follows:

Lot Six (6) Midway S/DDEED 03, Property Description: Starr County Property ID:
75446, Geographic ID: 11960-00000-00600-000000

h. The real property, improvements and appurtenances located and legally described as

follows:

 
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Cameron County Property ID: 412884 (ABST 10- PICHER N 1/2 Ww 1/3 & N1/2
E2/3 BLK 5 7.776 OUT OF 9.0000 AC) with Geographic ID: 85-7490-0050-0101-00

Cameron County Property ID: 181959 (ABST 10- PICHER BLK 58 12 E 1/3
3.3400 AC) with Geographic ID: 85-7490-0050-0500-00

Cameron County Property ID: 181956 (ABST 10- PICHER BLK 4 E 1/3, 6.6600
ACRES) with Geographic ID: 85-7490-0040-0200-00

Cameron County Property ID: 181960 (ABST 10- PICHER E 2/3 & W1/3 BLK6,
20.0000 AC) with Geographic ID: 85-7490-0060-0100-00

i. The real property, improvements and appurtenances located and legally described as
follows:

GPS: 26.364938,-98.891692, Acreage, 140 Porras Bros. Rio Grande City, TX
Property Description: Starr County Property ID: 998772, Midway Road Ranches
Tract-4 AB 126 POR 74 P LUGO SH 6-A, 7 7 SH-A, Geographic ID: 11961-00000-
00400-000000

j. The real property, improvements and appurtenances located and legally described as
follows:

GPS: 26.373550,-98.840032, Acreage, Banco Isaguirre (Shufford’s Property)
Property Description: Starr County Property ID: 96038, BANCO ISAGUIRRE #58 &
AB 82 POR 78 D GARCIA, Geographic ID: 89000-01500-00000-000005

ATRUEBILL ey

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FOKEPERSON

UNITED STATES ATTORNEY

Gd Coe (LLL.

ASSISTANT UNITED STATES ATTORNEY

 

 
